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The Trial Law Firm, PC

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Los ANGELES, CALIFORNIA 90017

March 1, 2011

VIA REGISTERED MAIL

RETURN RECEIPT REQUESTED

Mr. Robin Smith, Esq.

U.S. Department of Justice
Torts Branch, Civil Division
Benjamin Franklin Station
P.O. Box 888

Washington, DC 20044

Re: Four Month Suspension

Dear Robin:

Pursuant to the requirements of Rule 9.20 of the California Rules of Court, I am
hereby notifying you that I am suspended from the practice of law in California from
February 23 to June 23, 2011 per the orders of the California Supreme Court which are
attached. As such, I am disqualified to practice law and will not practice law during this
period. In the interim, our litigation will be handled by co-counsel with whom you
should communicate directly. Thank you for your cogpe

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* . . SP FILED
(State Bar Court No. 04-C-12303) JAN 24 201
$188222 Frederick K. Ohlrich Clerk

IN THE SUPREME COURT OF CALIFORNIADapity

En Bane

In re PIERCE HENRY O'DONNELL on Discipline

The court orders that Pierce Henry O'Donnell, State Bar Number $1298, is:

suspended from the practice of law in California for two years, execution of that
period of suspension is stayed, and he is placed on probation for two years subject
to the following conditions:

1. Pierce Henry O'Donnell is suspended from the practice of law for the
first 60 days of probation; ,

2. Pierce Henry O’Donnell must comply with the other conditions of
probation recommended by the Hearing Department of the State Bar
Court in its Decision filed on September 30, 2010; and

3. At the expiration of the period of probation, if Pierce Henry O’Donnell
has complied with all conditions of probation, the two-year period of
stayed suspension will be satisfied and that suspension will be
terminated, .

Pierce Henry O’Donnell must also take and pass the Multistate Professional
Responsibility Examination within one year after the effective date of this order’
and provide satisfactory proof of such passage to the State Bar’s Office of
Probation in Los Angeles within the same period. Failure to do so may result in
an automatic suspension. (Cal. Rules of Court, rule 9.10(b).).
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Costs are awarded to the State Bar in accordance with Business and
Professions Code section 6086.10 and are enforceable both as provided in
Business and Professions Code section 6140.7 and as a money judgment.

CANTIL-SAKAUYE

Chief Justice
Case 2:05-cv-04182-SRD-JCW Document 20181-1 Filed 03/02/11 Page 4 of 4

SUPREME COURT

FILED

(State Bar Court No. 09-0-17211) JAN 24 201!

S189768 Frederick K. Ohlrich Clerk

IN THE SUPREME COURT OF CALIFORNIA!Y

En Banc

In re PIERCE HENRY O'DONNELL on Discipline

The court orders that Pierce Henry O’*Donnell, State Bar Number 81298, is
suspended from the practice of law in California for two years, execution of that
period of suspension is stayed, and he is placed on probation for two years subject
to the following conditions:

1, Pierce Henry O’Donneil is suspended from the practice of law for 60
days consecutive to the 60-day suspension imposed in case number
$188222;

2. Pierce Henry O’Donnell must comply with the other conditions of
probation recommended by the Hearing Department of the State Bar
Court in its Order Approving Stipulation filed on January 5, 2011; and

3. At the expiration of the period of probation, if Pierce Henry O’Donnell
has complied with all conditions of probation, the two-year period of
stayed suspension will be satisfied and that suspension will be
terminated,

Pierce Henry O’Donnell must comply with rule 9.20 of the California Rules
of Court and perform the acts specified in subdivisions (a) and (c) of that rule
within 30 and 40 calendar days, respectively, after the effective date of this order.
Failure to do so may result in disbarment or suspension,
